     Case 2:13-cr-00008-WFN     ECF No. 928   filed 05/03/13   PageID.3446 Page 1 of 1




 1
 2                        UNITED STATES DISTRICT COURT
 3                     EASTERN DISTRICT OF WASHINGTON
 4
 5 UNITED STATES OF AMERICA,                     No. CR-13-008-WFN-33

 6                     Plaintiff,                ORDER DENYING MOTION
 7                                               FOR TRAVEL
     vs.
 8
 9 NARCISSA LEANE RAMZY, a/k/a
   GREENIDGE,
10
11                     Defendant.
12         Defendant seeks permission to travel to the U.S. Virgin Islands and St.
13   Thomas for her honeymoon. ECF. No. 917. The United States opposes the
14   Motion. The charges against Defendant are very serious, and Defendant’s proposal
15   is not sufficiently structured to permit close supervision. The Motion, ECF No.
16   917, is DENIED.
17         IT IS SO ORDERED.
18         DATED May 3, 2013.
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20                           S/ CYNTHIA IMBROGNO
                       UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
